
		
				STATE ex rel. OKLAHOMA BAR ASSOCIATION v. LANCE2022 OK 3Case Number: SCBD-7183Decided: 01/10/2022THE SUPREME COURT OF THE STATE OF OKLAHOMA
Cite as: 2022 OK 3, __ P.3d __

				
FOR PUBLICATION IN OBJ ONLY. NOT FOR OFFICIAL PUBLICATION. 

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STATE OF OKLAHOMA ex rel. OKLAHOMA BAR ASSOCIATION, Complainant,
v.
LANCE TIMOTHY LANCE, Respondent.



ORDER OF IMMEDIATE INTERIM SUSPENSION



¶1 The Oklahoma Bar Association (OBA), in compliance with Rules 7.1 and 7.2 of the Rules Governing Disciplinary Proceedings (RGDP), has forwarded to this Court certified copies of the Informations, Probable Cause Affidavits, Pleas, Judgment and Sentence, and Order Deferring Imposition of Judgment and Sentence, in the matters of State of Oklahoma v. Lance Timothy Lance, in cases CM-2020-56, CM-2020-192, CM-2021-206, and CM-2021-224, all in Murray County, Oklahoma. Following pleas of no contest on all counts in all the cases, in CM-2020-56, the Court entered a sentence of one year with all but 90 days of the sentence suspended for the misdemeanor crime of Driving Under the Influence of Intoxicants in violation of 47 O.S. § 11-902

1) CM-2020-192: Violation of a Protective Order, misdemeanor, in violation of 22 O.S. § 60.6

2) CM-2021-206: Count 1, Possession of a Controlled Dangerous Substance (Methamphetamine), misdemeanor, in violation of 63 O.S. § 2-40263 O.S. § 2-405

3) CM-2021-224: Count 1, Possession of a Controlled Dangerous Substance (Methamphetamine), misdemeanor, in violation of 63 O.S. § 2-40263 O.S. § 2-40521 O.S. § 540

The terms of all cases and counts will be served concurrent with credit for time served.

¶2 Rule 7.3 of the RGDP provides: "Upon receipt of the certified copies of Judgment and Sentence on a plea of guilty, order deferring judgment and sentence, indictment or information and the judgment and sentence, the Supreme Court may by order immediately suspend the lawyer from the practice of law until further order of the Court." Having received certified copies of these papers and orders, this Court orders that Lance Timothy Lance is immediately suspended from the practice of law. Lance Timothy Lance is directed to show cause, if any, no later than January 26, 2022, why this order of interim suspension should be set aside. See RGDP Rule 7.3. The OBA has until February 11, 2022, to respond.

¶3 DONE BY ORDER OF THE SUPREME COURT in conference on January 10, 2022.


/S/CHIEF JUSTICE


Darby, C.J., Kane, V.C.J., Kauger, Winchester, Edmondson, Combs and Kuehn, JJ., concur;

Gurich and Rowe, JJ., not participating.






